                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF IOWA
                                 CEDAR RAPIDS DIVISION

                                                        )
TRACEY K. KUEHL, et al.,
                                                        )
                                                        )   Case No. C14-02034-JSS
                       Plaintiffs,                      )
          v.                                            )
                                                            PLAINTIFFS’
                                                        )
                                                            NOTICE OF NEWLY
PAMELA SELLNER, et al.,                                 )
                                                            DISCOVERED EVIDENCE
                                                        )
                                                        )
                        Defendants.                         (ECF NO. 21)
                                                        )

                               Notice of Newly Discovered Evidence

          Plaintiffs respectfully request that the Court consider the United States Department of

Agriculture (USDA)’s recent decision to suspend Defendants’ Class C Exhibitor License due to

chronic violations of the Animal Welfare Act in support of Plaintiffs’ Motion for Summary

Judgment (ECF No. 21). When undersigned counsel visited the APHIS FOIA Reading Room on

July 1, 2015, undersigned counsel discovered that Defendants’ license to exhibit animals to the

public was suspended on June 16, 2015. See Screenshot of APHIS’ online database attached

hereto as Exhibit 15 1 (last visited July 1, 2015). According to the Animal Welfare Act, the

USDA’s Animal and Plant Health Inspection Service (APHIS) can suspend a license to operate

an animal enterprise, such as a zoo exhibit, “in any case of actual or threatened physical harm to

animals” or if APHIS has reason to believe that the licensee has violated or is violating the

Animal Welfare Act. 7 U.S.C. § 2149(a); 9 CFR § 4.10.




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    available at https://acissearch.aphis.usda.gov/LPASearch/faces/CustomerSearch.jspx.
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       There can be no doubt that Defendants were aware of their license suspension, but they

failed to disclose the suspension order to Plaintiffs. 2 APHIS’ suspension order is absolutely

relevant to Plaintiffs’ claims for violations of the Endangered Species Act at the Cricket Hollow

Zoo because it provides further evidence that Defendants have failed to practice generally

accepted animal husbandry at the Cricket Hollow Zoo and simply do not—and cannot—meet the

minimum requirements of the Animal Welfare Act (AWA). See 9 C.F.R. § 17.3 (setting forth

the criteria for AWA-licensed facilities to be exempt from 16 U.S.C. § 1538(9)(B)). Moreover,

APHIS’ suspension demonstrates that Defendants’ treatment of the tigers, ring-tailed and red-

ruffed lemur lemurs, and gray wolves or intra-species hybrid wolves at the Cricket Hollow Zoo

amounts to a prohibited take of endangered species under Section 9 of the Endangered Species

Act, 16 U.S.C. § 1538(9)(B). Defendants will not be prejudiced if this Court includes evidence

of their license suspension in the record for the purposes of evaluating the merits of Plaintiffs’

Motion for Summary Judgment.

       THEREFORE, Plaintiffs respectfully ask the court to consider this Notice as well as the

attached Exhibit 15 in support of Plaintiffs’ Motion for Summary Judgment (ECF No. 21).




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         APHIS’ online database lists Defendants’ Class C License No. 42-C-0084 as suspended
since June 16, 2015, though notice of the suspension was not available on the APHIS FOIA
Reading Room until today. Undersigned counsel learned on June 23, 2015, that Defendants had
unexpectedly and without explanation closed the Cricket Hollow Zoo to the public for a three-
week period. Undersigned counsel immediately attempted to obtain explanation for the closure
from opposing counsel in time for the June 29 filing of Plaintiffs’ Reply to Defendants’
Resistance to Plaintiff’s Motion for Summary Judgment. However, opposing counsel never
responded to undersigned counsel’s inquiry.

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Dated: July 1, 2015          Respectfully submitted,



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